                     UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION


UNITED STATES OF AMERICA                )
                                        )
                   v.                   )     NO.   3:11-00194-02
                                        )
JAMES BEAN                              )

                             MEMORANDUM AND ORDER

             Defendant James Bean has filed his “Motion To Revoke

Order Of Detention” (Docket Entry No. 913), and the Government has

filed a response in opposition (Docket Entry No. 919).                          The

District   Judge     has    referred   this    motion      to   the   undersigned

Magistrate Judge for decision (Docket Entry No. 915).

                         Pertinent History of the Case

             On September 15, 2012, defendant James Bean was indicted

and charged with one count of conspiracy to distribute 280 grams or

more of crack cocaine, a quantity of cocaine and a quantity of

marijuana in violation of Title 21, U.S.C. § 846, and two counts of

sale of a firearm to a convicted felon in violation of Title 18,

U.S.C. §§ 922(d)(1), 924(a)(2) and 2.                   The Government filed a

superseding indictment on September 29, 2011 (Docket Entry No.

130), but the charges against defendant Bean were not changed.

             At a detention hearing on September 21, 2011, defendant

Bean, through counsel, waived his right to a detention hearing but

reserved the right to seek release “at some point in the future if

appropriate.”        In view of defendant’s waiver, the undersigned




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ordered defendant Bean detained (Docket Entry No. 111).



            On April 18, 2012, defendant Bean filed his petition to

enter a plea of guilty to Count One of the indictment (Docket Entry

No. 363).     This petition was granted and defendant’s plea of

“guilty” was accepted and entered by the Court. (Id.).

            Defendant Bean’s sentencing hearing has been scheduled

for December 19, 2012, at 1:00 p.m. (Docket Entry No. 898).

                                      Analysis

            The undersigned Magistrate Judge conducted a hearing on

defendant Bean’s motion to revoke order of detention on November

26, 2012.

            Defendant Bean was the sole witness at this hearing.

Summarizing, defendant Bean testified that his stepfather is on

kidney dialysis treatment and has been for a few years.                Defendant

Bean’s mother has been tested to determine her suitability as a

potential    kidney    donor,   and    the    family     apparently     has    had

discussions of having defendant Bean tested as a potential donor if

his mother is found to be unsuitable.                  Defendant Bean further

testified that his mother herself is partially disabled, and that

his stepfather and mother desperately need his help at home to

assist in managing his stepfather’s medications and other matters.

            In addition, defendant Bean testified that certain legal

proceedings are currently pending in state court in Warren County


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seeking to terminate his parental rights with respect to his second

child, who is currently six years old.           Defendant Bean testified

that his incarceration has materially hindered his ability to

appear and contest those pending legal proceedings.

           Finally, defendant Bean testified that he voluntarily

turned himself in after being notified of his indictment in this

case, that he has never failed to appear for any scheduled court

proceeding, and that he has never been a threat to the safety of

the community.

           Since defendant Bean has now plead guilty to an offense

for which a maximum term of imprisonment of ten years or more is

prescribed in the Controlled Substances Act, 21 U.S.C. § 801, et

seq., and is now awaiting sentencing, his motion to revoke order of

detention is governed, at least initially, by 18 U.S.C. § 3143.

The undersigned finds that neither of the exceptions listed in §

3143(a)(2)(A) are applicable here.        This section requires that the

undersigned “shall” order defendant Bean detained pending his

sentencing.    However, despite the apparently mandatory detention

provided under § 3143(a)(2), the Sixth Circuit has held that the

district court nevertheless has authority to release a defendant

detained pursuant to § 3143(a)(2) upon a showing of “exceptional

reasons” under 18 U.S.C. § 3145(c).          United States v. Christman,

596 F.3d 870 (6th Cir. 2010).            In fact, the Sixth Circuit in

Christman held that the district court erred in not considering


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whether the defendant established exceptional reasons to support

his release pending sentencing.

             Following remand, the district court in the Christman

case conducted a review of authorities and held that defendant

Christman had not presented exceptional reasons demonstrating why

his continued detention until sentencing would be inappropriate.

United States v. Christman, 712 F.Supp.2d 651 (E.D. Ky. 2010).

Significantly, the district court found from its review of cases

that   personal      and   familial   hardship     and   disruption     “are    the

natural, if unfortunate, consequences of finding oneself at the

mercy of the criminal justice system.” (Id. at 656). The district

court in Christman noted that caring for ill family members has

generally not been considered as an “exceptional reason” within the

meaning of § 3145(c).        (Id.) (citing United States v. Burnett, 76

F.Supp.2d 846 (E.D. Tenn. 1999)).

             Guided by the foregoing authorities, the undersigned

Magistrate Judge finds that the grounds offered by defendant Bean

in support of his motion to revoke order of detention, regrettable

as those grounds may be, nevertheless do not establish “exceptional

reasons”   why    defendant     Bean’s       continued   detention     until    his

sentencing would be inappropriate, within the meaning of 18 U.S.C.

§ 3145(c).




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           For the foregoing reasons, the undersigned Magistrate

Judge finds that defendant Bean’s “Motion To Revoke Order Of

Detention” should be DENIED.

           It is so ORDERED.

                                         s/ John S. Bryant
                                         JOHN S. BRYANT
                                         United States Magistrate Judge




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